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                     1   ALAN R. SMITH, ESQ. #1449
                         HOLLY E. ESTES, ESQ. #11797
                     2   Law Offices of Alan R. Smith
                         505 Ridge Street                                                                        ELECTRONICALLY FILED
                     3   Reno, Nevada 89501                                                                         June 23, 2014
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                         ANTHONY THOMAS and WENDI
                     6   THOMAS and AT EMERALD, LLC
                     7
                     8
                     9                                     UNITED STATES BANKRUPTCY COURT
                 10                                                       DISTRICT OF NEVADA
                 11                                                                   —ooOoo—
                 12      In Re:                                                                 Case No. BK-N-14-50333-BTB
                                                                                                Case No. BK-N-14-50331-BTB
                 13      ANTHONY THOMAS and                                                     Chapter 11 Cases
                         WENDI THOMAS,
                 14                                                                             [Jointly Administered]
                 15      AT EMERALD, LLC,                                                       EX PARTE MOTION TO FILE
                                                                                                PURCHASE AND SALE AGREEMENT
                 16                           Debtors.                                          UNDER SEAL
                 17      ______________________________/
                 18                Debtor, AT EMERALD, LLC, a Nevada limited liability company (hereinafter “AT
                 19      Emerald” or “Debtor”), by and through its undersigned counsel, Holly E. Estes, Esq., of the
                 20      Law Offices of Alan R. Smith, hereby files its Ex Parte Motion to File Purchase and Sale
                 21      Agreement Under Seal (“Motion”). This Motion is made and based upon Federal Rule of
                 22      Bankruptcy Procedure 9018, Local Rule 9018, the points and authorities set forth below, the
                 23      Declaration Of Anthony Thomas In Support Motion To Sell Assets Free And Clear Of Liens
                 24      And Motion to File Purchase and Sale Agreement Under Seal, the pleadings and papers on
                 25      file herein, and such other matters as may be presented at the hearing hereon.
                 26                                                  POINTS AND AUTHORITIES
                 27                A.         Background.
                 28                On June 23, 2014, the Debtor filed its Motion To Sell Assets Free And Clear Of Liens
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                     1   And Motion to File Purchase and Sale Agreement Under Seal (the “Sale Motion”). The Sale
                     2   Motion seeks authority for the Debtor to sell its only asset, a 21,000 carat emerald (the
                     3   “Emerald”). The Emerald is currently located at Sarasota Vault, 640 South Washington
                     4   Blvd., Ste. 125, Sarasota, Florida 34236.
                     5                        1.         Purchase price and terms.
                     6             Attached to the Sale Motion as Exhibit “A” is a fully executed copy of the Purchase
                     7   And Sale Agreement (hereinafter the “Agreement”). Under the Agreement, Koyo Shipping
                     8   And Trading Corporation (hereinafter “Koyo”) agrees to purchase the Emerald for cash,
                     9   payable at close of escrow. Pursuant to the Agreement, both parties have requested that the
                 10      purchase price not be disclosed in any public document, but be filed with the Court under
                 11      seal.
                 12                As set forth in the Sale Motion, the purchase price is sufficient to pay all creditors in
                 13      this case, as well as all creditors in the companion case of ANTHONY THOMAS and
                 14      WENDI THOMAS, Case No. BK-N-14-50333-BTB (the “Thomas Bankruptcy Case”) in
                 15      full. The purchase price is to be paid in cash, within three days following entry of an order
                 16      approving the sale or three days following the inspection and acceptance of the Emerald by
                 17      Koyo. The Agreement provides that Koyo shall have eleven days following execution of the
                 18      Agreement to approve the condition of the Emerald, and that the Debtor shall have ten days
                 19      following execution of the Agreement to confirm that Koyo has sufficient cash to
                 20      consummate the transaction. By the date of the hearing on this Motion, both conditions will
                 21      likely have been satisfied, as the Agreement was executed on June 19, 2014 and the condition
                 22      required to be met not later that June 30.
                 23                 Anthony and Wendi Thomas request that the purchase price remain undisclosed. As
                 24      set forth in 11 U.S.C. § 107(c), information need not be disclosed if it would create undue
                 25      risk of unlawful injury to the individual. As stated in Collier on Bankruptcy, ¶ 107.04 (16th
                 26      ed.),
                 27                           Section 107(c) gives the court broad discretion to protect an
                                              individual with respect to any information, including identifying
                 28                           information, in a paper filed or to be filed with the court to the
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                     1                        extent that the court finds that disclosure of the information
                                              would create an undue risk of identify theft or unlawful injury
                     2                        to the individual or the individual’s property.
                     3                        ...
                     4                        Unlike section 107(b), section 107(c) requires a showing of
                                              cause. It does not require a request to the court; although most
                     5                        orders under the section will be initiated in that manner, the
                                              court can act sua sponte. There is also no requirement that a
                     6                        request be made by a party in interest. However, the protection
                                              of the subsection extends only to individuals, and only to
                     7                        prevent injury to the person or property of individuals.
                     8
                         In this case, disclosure of the actual purchase price poses a risk to the individual Debtors
                     9
                         Anthony and Wendi Thomas and is not necessary. Debtor will file under seal an non-
                 10
                         redacted copy of the Purchase And Sale Agreement with the Court.
                 11
                                                                                  CONCLUSION
                 12
                                   Accordingly, the actual purchase price has been redacted from the Agreement attached
                 13
                         to the Sale Motion as Exhibit “A”, and the Debtor requests that the purchase price remain
                 14
                         confidential. The sale is for a value far in excess of all secured and unsecured claims of both
                 15
                         this estate and the Thomas Bankruptcy Case. The sale is to be consummated in a short period
                 16
                         of time, and the proceeds of this sale are protected in an interest bearing trust account. It is
                 17
                         in the best interests of the individual Debtors, Anthony and Wendi Thomas, that the purchase
                 18
                         price remain confidential as disclosure of the actual purchase price poses a risk to the
                 19
                         individual Debtors and is not necessary.
                 20
                                   DATED this 23rd day of June, 2014.
                 21
                                                                                         LAW OFFICES OF ALAN R. SMITH
                 22
                                                                                         By:     /s/ Holly E. Estes
                 23                                                                        HOLLY E. ESTES, ESQ.
                                                                                           Attorney for Debtors
                 24
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